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 4
                                UNITED STATES DISTRICT COURT
 5                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 6
     UNITED STATES OF AMERICA,                         )
 7                                                     )
                              Plaintiff,               )    Case No. CR 08-245 RSL
 8                                                     )
           v.                                          )
 9                                                     )    DETENTION ORDER
     ARTHUR WILCHER,                                   )
10                                                     )
                              Defendant.               )
11                                                     )

12   Offenses charged:

13         Conspiracy to Traffic in Motor Vehicles or Motor Vehicle Parts.

14    Date of Detention Hearing: August 8, 2008.

15         The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f), and

16    based upon the factual findings and statement of reasons for detention hereafter set forth, finds

17    that no condition or combination of conditions which the defendant can meet will reasonably

18    assure the appearance of the defendant as required and the safety of any other person and the

19    community.

20         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21         (1)      Defendant is charged by indictment with Conspiracy to Traffic in Motor Vehicles or

22    Motor Vehicle Parts. Defendant has not been employed for three years. Defendant has had

23    contacts with law enforcement since 2002. Among his convictions are two convictions for

      carrying a concealed weapon, assault in the fourth degree, violation of a protection order, and

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 1    felon in possession of a firearm. Defendant has also failed to appear for prior court appearances

 2    on at least seven separate occasions. He failed to appear four times in 2007 and twice in July

 3    2008.

 4         It is therefore ORDERED:

 5         (1)      Defendant shall be detained pending trial and committed to the custody of the

 6    Attorney General for confinement in a correctional facility separate, to the extent practicable,

 7    from persons awaiting or serving sentences, or being held in custody pending appeal;

 8         (2)      Defendant shall be afforded reasonable opportunity for private consultation with

 9    counsel;

10         (3)      On order of a court of the United States or on request of an attorney for the

11    Government, the person in charge of the correctional facility in which Defendant is confined shall

12    deliver the defendant to a United States Marshall for the purpose of an appearance in connection

13    with a court proceeding; and

14            (4)   The clerk shall direct copies of this order to counsel for the United States, to counsel

15    for the defendant, to the United States Marshal, and to the United States Pretrial Services Officer.

16            DATED this 8th day of August, 2008.

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18                                                         A
                                                           BRIAN A. TSUCHIDA
19                                                         United States Magistrate Judge

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     DETENTION ORDER -2
